             Case 09-31139-abl        Doc 70      Entered 07/16/13 16:10:43          Page 1 of 3



1    KATHLEEN A LEAVITT
     CHAPTER 13 STANDING TRUSTEE
2    201 LAS VEGAS BLVD SOUTH
     SUITE 200
3    LAS VEGAS, NV 89101
     (702)853-0700
4                              UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEVADA
5    IN RE:
                                                    CASE NO: 09-31139-LBR
     LANCE REED ATCHISON
                                                    CHAPTER 13
6    CHERYL LOUISE ATCHISON

7
             DEBTORS
8

9                                NOTICE OF FINAL CURE PAYMENT
10           Pursuant to Federal Rule of Bankruptcy Procedure 3002.1(f), the Chapter 13 Trustee,
     KATHLEEN A. LEAVITT files this Notice of Final Cure Payment. NOTICE: A RESPONSE IS
11   REQUIRED. Pursuant to Federal Rule of Bankruptcy Procedure 3002.1(g), within 21 days after
     service of this NOTICE OF FINAL CURE PAYMENT, the holder shall file and serve on 1) the
12   debtor, 2) debtor’s counsel, and 3) the trustee a statement indicating:

13            (1) whether it agrees that the debtor has paid in full the amount required to cure the default
                  on the claim, and;
14            (2) whether the debtor is otherwise current on all payments consistent with § 1322(b)(5) of
                  the Code.
15
             The statement shall itemize the required cure or postpetition amounts, if any, that the holder
16   contends remain unpaid as of the date of the statement. The statement shall be filed as a supplement
     to the holder’s proof of claim and is not subject to Rule 3001(f). Failure to respond may preclude
17   presentment of this information in any contested matter and/or result in sanctions.

18          The amount required to cure the default in the claim listed below has been paid in full.
      Final Cure Amount
19
      Court Name of Creditor                                                 Claim         Amount
20    Claim # Account Number                                                 Allowed       Paid by
              Property Address                                                             Trustee
21       2      JP MORGAN CHASE BANK, NATIONALPreASSOCIATION
                                                  Petition                    $4,448.26      $4,448.26
                1802                          Arrearages
22              4851 VILLA CARMEA CIRCLE, NLV
                NV 89031
23       2      JP MORGAN CHASE BANK, NATIONALDirect by Debtor
                                                 ASSOCIATION                 $160,453.61       $0.00
                1802
24              4851 VILLA CARMEA CIRCLE, NLV
                NV 89031
25   Monthly Ongoing Mortgage Payment

26   Mortgage is Paid:         By the Chapter 13 Trustee               X Direct by the Debtor
          Case 09-31139-abl   Doc 70   Entered 07/16/13 16:10:43         Page 2 of 3



1     DISBURSEMENT HISTORY

2

3    LANCE REED ATCHISON                                   09-31139-LBR
     CHERYL LOUISE ATCHISON
4
      Trustee Claim #3
5
                                       Disbursement Date   Check Number        Amount
6     JP MORGAN CHASE BANK, NATIONAL ASSOCIATION
                                       11/01/2011            1,188,330        $1,109.55
      JP MORGAN CHASE BANK, NATIONAL ASSOCIATION
                                       12/01/2011            1,191,183          $259.88
7     JP MORGAN CHASE BANK, NATIONAL ASSOCIATION
                                       01/01/2012            1,193,763          $259.88
      JP MORGAN CHASE BANK, NATIONAL ASSOCIATION
                                       02/01/2012            1,196,339          $259.88
8     JP MORGAN CHASE BANK, NATIONAL ASSOCIATION
                                       03/01/2012            1,199,151          $259.88
      JP MORGAN CHASE BANK, NATIONAL ASSOCIATION
                                       04/01/2012            1,202,066          $259.88
      JP MORGAN CHASE BANK, NATIONAL ASSOCIATION
                                       05/01/2012            1,205,009          $259.88
9
      JP MORGAN CHASE BANK, NATIONAL ASSOCIATION
                                       06/01/2012            1,207,951          $259.88
      JP MORGAN CHASE BANK, NATIONAL ASSOCIATION
                                       07/01/2012            1,210,751          $940.28
10    JP MORGAN CHASE BANK, NATIONAL ASSOCIATION
                                       08/01/2012            1,213,671          $259.88
      JP MORGAN CHASE BANK, NATIONAL ASSOCIATION
                                       09/01/2012            1,216,546          $259.88
11    JP MORGAN CHASE BANK, NATIONAL ASSOCIATION
                                       10/01/2012            1,219,236           $59.51

12                                                           Total Paid: $4,448.26


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            Case 09-31139-abl           Doc 70       Entered 07/16/13 16:10:43             Page 3 of 3



1    KATHLEEN A. LEAVITT
     CHAPTER 13 STANDING TRUSTEE
2    201 Las Vegas Blvd South
                                                                                 E-filed on: 7/16/13
     Suite 200
3    Las Vegas, NV 89101
     (702) 853-0700
4
                                  UNITED STATES BANKRUPTCY COURT
5                                        DISTRICT OF NEVADA

6    IN RE:                                                         CASE NO: BKS-09-31139-LBR
                                                                    Chapter 13
7    LANCE REED ATCHISON
     CHERYL LOUISE ATCHISON
8
                               Debtor (s)
9

10                                 CERTIFICATE OF SERVICE
11   1. On July 16, 2013 I served the following document(s):

12       NOTICE OF FINAL CURE PAYMENT
13   2. I served the above- named document(s) by the following means to the persons as listed below:
         United States mail, postage fully prepaid
14

15
     LANCE REED ATCHISON                    JP MORGAN CHASE BANK,
     CHERYL LOUISE ATCHISON                 NATIONAL ASSOCIATION
16   4851 VILLA CARMEN CIRCLE               7255 BAY MEADOWS WAY
     NORTH LAS VEGAS, NV 89031              JACKSONVILLE, FL 32256
17

18
     JP MORGAN CHASE BANK,                  PHILIP K GOLDSTEIN, ESQ
     NATIONAL ASSOCIATION                   901 PRAIRIE ZINNIA DRIVE
19   7255 BAY MEADOWS WAY                   BERNALILLO, NM 87004
     JACKSONVILLE, FL 32256
20

21   ELECTRONIC SERVICE -
     LAURA L FRITZ ESQ
     ANDREW S T FRITZ LTD
22   609 SOUTH 7TH STREET
     LAS VEGAS, NV 89101
23

24   I declare under penalty of perjury that the foregoing is true and correct.
     Signed on: 7/16/13                                          /s/ Esther Carr
25
                                                                 Employee of
                                                                 Kathleen A. Leavitt
26
                                                                 Chapter 13 Standing Trustee
